Case 2:22-cr-00429-JMA-AYS                    Document 176           Filed 05/22/25   Page 1 of 2 PageID #:
                                                      980

                                                                                                 FILED
                                                                                                 CLERK
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                              5/22/2025 12:10 pm
 ----------------------------------------------------------------X                         U.S. DISTRICT COURT
 UNITED STATES OF AMERICA,                                                            EASTERN DISTRICT OF NEW YORK
                                                                                           LONG ISLAND OFFICE
          - against -                                                          ORDER
                                                                               22-CR-429 (JMA)(AYS)
 VLADIMIR ANTONIO AREVALO-CHAVEZ
       also known as “Vampiro de Monserrat
       Criminales,”
 JOSE WILFREDO AYALA-ALCANTARA
       also known as “Indio de Hollywood,”
 EDWIN ERNESTO CEDILLOS-RODRIGUEZ
       also known as “Renuente de Abriles
       Dangers,”
 JORGE ALEXANDER DE LA CRUZ
       also known as “Cruger de Peatonales,”
 WALTER YOVANI HERNANDEZ-RIVERA
       also known as “Baxter de Park View,”
       and “Bastard de Park View,”
 JUAN ANTONIO MARTINEZ-ABREGO
       also known as “Mary Jane de Hollywood,”
 MARLON ANTONIO MENJIVAR-PORTILLO
       also known as “Rojo de Park View,”
 CARLOS TIBERIO RAMIREZ-VALLADARES
       also known as “Snayder de Pasadena,”
 DANY FREDY RAMOS-MEJIA
       also known as “Cisco de Teclas,”
 FRANCISCO JAVIER ROMAN-BARDALES
       also known as “Veterano de Tribus,”
 DANY BALMORE ROMERO-GARCIA
       also known as “Big Boy de Normandies,”
        “Dig Boy de Normandies,” and
       “D Boy de Normandies,
 RUBEN ANTONIO ROSA-LOVO
       also known as “Chivo de Centrales,” and
 MIGUEL ANGEL SERRANO-MEDINA
       also known as “Cabro de Park View,”

                              Defendants.
 ----------------------------------------------------------------X
 AZRACK, United States District Judge:

          On April 1, 2025, the Government filed a motion to dismiss the indictment against

 Defendant Vladimir Antonio Arevalo-Chavez (“Defendant”) under seal. (ECF No. 155.) The



                                                              1
Case 2:22-cr-00429-JMA-AYS           Document 176        Filed 05/22/25     Page 2 of 2 PageID #:
                                             981



 Government and Defendant subsequently filed additional submissions under seal concerning the

 motion to dismiss. On April 14, 2025, the Court directed the Government and Defendant to show

 cause, in writing, on April 15, 2025: “(1) why the Court should not unseal ECF Nos. 155, 156,

 157, 158, 159, and 160 and the Court’s April 3, 2025 Order, April 4, 2025 Order, and April 11,

 2025 Order; and (2) why any future filings concerning this motion should not be filed on the

 publicly available docket and why any future proceedings in court concerning this motion should

 not be held in open court.” The parties filed responses to the Court’s order to show cause on April

 15, 2025. The Government asserted that the motion to dismiss and all related filings should remain

 under seal, while Defendant asserted that there was “no compelling argument for maintaining these

 documents under seal,” (ECF No. 166). Having considered the parties’ responses and all relevant

 filings, the Court has determined that the following filings should no longer be sealed and directs

 the Clerk of Court to unseal ECF Nos. 155, 156, 157, 158, 159, 160, 165, 166, 167, and 171 as

 well as the Court’s April 3, 2025 Order, April 4, 2025 Order, April 11, 2025 Order regarding ECF

 No. 158, April 14, 2024 Order, May 1, 2025 Order, and May 15, 2025 Order.

        The Court will issue a separate Memorandum and Order that explains the Court’s decision

 concerning unsealing.

        In a separate sealed order that will be docketed today, the Court is also ordering the

 Government to show cause why ECF Nos. 170, 173, 174, and 175 should not be unsealed.

 SO ORDERED.

 Dated: May 22, 2025
 Central Islip, New York
                                                              /s/ (JMA)
                                                      JOAN M. AZRACK
                                                      UNITED STATES DISTRICT JUDGE




                                                 2
